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 7

 8                                     UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                          No. 1:14-CR-00101-DAD-BAM

12                        Plaintiff,

13           v.                                          FINAL ORDER OF FORFEITURE

14    TIMOTHY ORTIZ,
      TIMOTHY NEW, and
15    NATALIE MIDDLETON,

16                        Defendants.

17

18          WHEREAS, on October 4, 2016, this Court entered a Preliminary Order of Forfeiture

19   pursuant to the provisions of 18 U.S.C. § 982(a)(1), 21 U.S.C. § 334, 28 U.S.C. § 2461(c), and

20   Fed. R. Crim. P. 32.2(b) based upon the plea agreements entered into between the United States

21   and defendants Timothy New and Natalie Middleton forfeiting to the United States the following

22   property:

23                a. All right, title, and interest in any article of drug that is misbranded
                     when introduced into or while in interstate commerce or while held for
24                   sale (whether or not the first sale) after shipment in interstate
                     commerce, or which may not be introduced into interstate commerce,
25
                  b. A personal forfeiture money judgment against defendant TIMOTHY
26                   NEW in the amount of $50,053.41, and

27                c. A personal forfeiture money judgment               against   NATALIE
                     MIDDLETON in the amount of $11,236.00.
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                                                        1
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 1          AND WHEREAS, on August 18, 2017, this Court entered a Preliminary Order of

 2   Forfeiture pursuant to the provisions of 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), 21 U.S.C. § 334, 28

 3   U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(b) based upon the plea agreement entered into

 4   between the United States and defendant Timothy Ortiz forfeiting to the United States the

 5   following property:

 6               a. All right, title, and interest in any article of drug that is misbranded
                    when introduced into or while in interstate commerce or while held for
 7                  sale (whether or not the first sale) after shipment in interstate
                    commerce, or which may not be introduced into interstate commerce,
 8                  and
 9               b. A personal forfeiture money judgment against defendant TIMOTHY
                    ORTIZ in the amount of $137,110.58.
10

11          AND WHEREAS, the Court has been advised that no third party has filed a petition to

12   the subject property, and the time in which any person or entity may file a petition has expired.

13          Accordingly, it is hereby ORDERED and ADJUDGED:

14          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of

15   America all right, title, and interest in the above-listed property pursuant to 18 U.S.C. §§

16   981(a)(1)(C), 982(a)(1), 21 U.S.C. § 334, 28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(b), to

17   be disposed of according to law, including all right, title, and interest of defendants Timothy

18   New, Timothy Ortiz, and Natalie Middleton.

19          2.      All right, title, and interest in the above-listed property shall vest solely in the

20   name of the United States of America.
21          3.      The Internal Revenue Service – Criminal Investigations shall maintain custody of

22   and control over the subject property until it is disposed of according to law.

23   IT IS SO ORDERED.
24
        Dated:     May 29, 2019
25                                                       UNITED STATES DISTRICT JUDGE

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